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 8                                 UNITED STATES DISTRICT COURT

 9                              NORTHERN DISTRICT OF CALIFORNIA

10                                        OAKLAND DIVISION

11
     WHATSAPP INC., a Delaware corporation,               Case No. 4:19-cv-07123-PJH
12   and FACEBOOK, INC., a Delaware
13   corporation,                                         [PROPOSED] ORDER GRANTING
                  Plaintiffs,                             DEFENDANTS’ NSO GROUP
14                                                        TECHNOLOGIES LIMITED AND Q
             v.                                           CYBER TECHNOLOGIES LIMITED’S
15                                                        OMNIBUS ADMINISTRATIVE MOTION
     NSO GROUP TECHNOLOGIES LIMITED                       TO FILE UNDER SEAL
16   and Q CYBER TECHNOLOGIES LIMITED,
17                                                        Action Filed: 10/29/2019
                     Defendants.
18

19           Having considered the Omnibus Administrative Motion to File Under Seal submitted by
20 Defendants NSO Group Technologies Limited and Q Cyber Technologies Limited (collectively, the

21 “Defendants”), and the Declaration of Aaron S. Craig filed in support thereof, IT IS HEREBY

22 ORDERED that the Motion is GRANTED and the following documents WILL BE REDACTED,

23 as follows:

24   Dkt.         Documents Covered By This Order            Portion(s) to Seal      Reasons for
     No.                                                                             Sealing
25
     399-4        Exhibit 8 to Declaration of Micah G.       Highlighted             Contains personally
26                Block in Support of Plaintiffs’ Motion     portions as             identifiable
                  for Partial Summary Judgment               identified in the       information (PII) of
27                                                           Declaration of          non-testifying
                                                             Aaron S. Craig          employees
28
                                                      1
     [PROPOSED] ORDER                                                       Case No. 4:19-cv-07123-PJH
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 1                                                     attached to
                                                       Defendants’
 2                                                     Omnibus Motion to
                                                       Seal (“Craig
 3
                                                       Decl.”), Ex. A.
 4   399-4    Exhibit 9 to Declaration of Micah G.     Highlighted             Contains PII of
              Block in Support of Plaintiffs’ Motion   portions in Craig       non-testifying
 5            for Partial Summary Judgment             Decl. Ex. A.            employees
 6   399-4    Exhibit 10 to Declaration of Micah G.    Highlighted             Contains PII of
 7            Block in Support of Plaintiffs’ Motion   portions in Craig       non-testifying
              for Partial Summary Judgment             Decl. Ex. A.            employees
 8
     399-4    Exhibit 13 to Declaration of Micah G.    Highlighted             Contains PII of
 9            Block in Support of Plaintiffs’ Motion   portions in Craig       non-testifying
              for Partial Summary Judgment             Decl. Ex. A.            employees
10

11   399-4    Exhibit 14 to Declaration of Micah G.    Highlighted             Contains PII of
              Block in Support of Plaintiffs’ Motion   portions in Craig       non-testifying
12            for Partial Summary Judgment             Decl. Ex. A.            employees
13   399-4    Exhibit 15 to Declaration of Micah G.    Highlighted             Contains PII of
14            Block in Support of Plaintiffs’ Motion   portions in Craig       non-testifying
              for Partial Summary Judgment             Decl. Ex. A.            employees
15
     399-4    Exhibit 22 to Declaration of Micah G.    Highlighted             Contains PII of
16            Block in Support of Plaintiffs’ Motion   portions in Craig       non-testifying
              for Partial Summary Judgment             Decl. Ex. A.            employees
17

18   399-4    Exhibit 32 to Declaration of Micah G.    Highlighted             Contains PII of
              Block in Support of Plaintiffs’ Motion   portions in Craig       non-testifying
19            for Partial Summary Judgment             Decl. Ex. A.            employees

20   399-4    Exhibit 35 to Declaration of Micah G.    Highlighted             Contains PII of
              Block in Support of Plaintiffs’ Motion   portions in Craig       non-testifying
21
              for Partial Summary Judgment             Decl. Ex. A.            employees
22
     399-4    Exhibit 36 to Declaration of Micah G.    Highlighted             Contains PII of
23            Block in Support of Plaintiffs’ Motion   portions in Craig       non-testifying
              for Partial Summary Judgment             Decl. Ex. A.            employees
24

25   418-5    Exhibit 8 to Declaration of Micah G.     Highlighted             Contains PII of
              Block in Support of Plaintiffs’          portions in Craig       non-testifying
26            Opposition to Defendants’ Motion for     Decl. Ex. B.            employees
              Summary Judgment
27
     418-5    Exhibit 10 to Declaration of Micah G.    Highlighted             Contains PII of
28
                                                  2
     [PROPOSED] ORDER                                                Case No. 4:19-cv-07123-PJH
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 1            Block in Support of Plaintiffs’          portions in Craig       non-testifying
              Opposition to Defendants’ Motion for     Decl. Ex. B.            employees
 2            Summary Judgment
 3
     418-5    Exhibit 11 to Declaration of Micah G.    Highlighted             Contains PII of
 4            Block in Support of Plaintiffs’          portions in Craig       non-testifying
              Opposition to Defendants’ Motion for     Decl. Ex. B.            employees
 5            Summary Judgment
 6   418-5    Exhibit 12 to Declaration of Micah G.    Highlighted             Contains PII of
 7            Block in Support of Plaintiffs’          portions in Craig       non-testifying
              Opposition to Defendants’ Motion for     Decl. Ex. B.            employees
 8            Summary Judgment

 9   418-5    Exhibit 17 to Declaration of Micah G.    Highlighted             Contains PII of
              Block in Support of Plaintiffs’          portions in Craig       non-testifying
10
              Opposition to Defendants’ Motion for     Decl. Ex. B.            employees
11            Summary Judgment

12   418-5    Exhibit 30 to Declaration of Micah G.    Highlighted             Contains PII of
              Block in Support of Plaintiffs’          portions in Craig       non-testifying
13            Opposition to Defendants’ Motion for     Decl. Ex. B.            employees
14            Summary Judgment

15   418-5    Exhibit 31 to Declaration of Micah G.    Highlighted             Contains PII of
              Block in Support of Plaintiffs’          portions in Craig       non-testifying
16            Opposition to Defendants’ Motion for     Decl. Ex. B.            employees
              Summary Judgment
17

18   418-5    Exhibit 32 to Declaration of Micah G.    Highlighted             Contains PII of
              Block in Support of Plaintiffs’          portions in Craig       non-testifying
19            Opposition to Defendants’ Motion for     Decl. Ex. B.            employees
              Summary Judgment
20
     418-5    Exhibit 33 to Declaration of Micah G.    Highlighted             Contains PII of
21
              Block in Support of Plaintiffs’          portions in Craig       non-testifying
22            Opposition to Defendants’ Motion for     Decl. Ex. B.            employees
              Summary Judgment
23
     418-5    Exhibit 34 to Declaration of Micah G.    Highlighted             Contains PII of
24            Block in Support of Plaintiffs’          portions in Craig       non-testifying
25            Opposition to Defendants’ Motion for     Decl. Ex. B.            employees
              Summary Judgment
26
     436-4    Exhibit 41 to the Reply Declaration of   Highlighted             Contains PII of
27            Micah G. Block in Support of             portions in Craig       non-testifying
              Plaintiffs’ Reply in Support of Motion   Decl. Ex. C.            employees
28
                                                  3
     [PROPOSED] ORDER                                                Case No. 4:19-cv-07123-PJH
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 1            for Partial Summary Judgment
 2   418-5    Exhibit 43 to Declaration of Micah G.    Highlighted             Contains discussion
 3            Block in Support of Plaintiffs’          portions in Craig       of foreign
              Opposition to Defendants’ Motion for     Decl. Ex. B.            governmental
 4            Summary Judgment                                                 proceedings

 5
     405-4    Exhibit A to Declaration of Micah G.     Highlighted             Contains discussion
 6            Block in Support of Plaintiffs’ Motion   portions in Craig       of foreign
 7            for Sanctions                            Decl. Ex. D.            governmental
                                                                               proceedings
 8
     405-4    Exhibit D to Declaration of Micah G.     Highlighted             Contains discussion
 9            Block in Support of Plaintiffs’ Motion   portions in Craig       of foreign
              for Sanctions                            Decl. Ex. D.            governmental
10
                                                                               proceedings
11   405-4    Exhibit E to Declaration of Micah G.     Highlighted             Contains discussion
              Block in Support of Plaintiffs’ Motion   portions in Craig       of foreign
12            for Sanctions                            Decl. Ex. D.            governmental
                                                                               proceedings
13

14   405-4    Exhibit F to Declaration of Micah G.     Highlighted             Contains discussion
              Block in Support of Plaintiffs’ Motion   portions in Craig       of foreign
15            for Sanctions                            Decl. Ex. D.            governmental
                                                                               proceedings
16
     405-4    Exhibit G to Declaration of Micah G.     Highlighted             Contains discussion
17            Block in Support of Plaintiffs’ Motion   portions in Craig       of foreign
18            for Sanctions                            Decl. Ex. D.            governmental
                                                                               proceedings
19
     405-4    Exhibit I to Declaration of Micah G.     Highlighted             Contains discussion
20            Block in Support of Plaintiffs’ Motion   portions in Craig       of foreign
              for Sanctions                            Decl. Ex. D.            governmental
21
                                                                               proceedings
22
     405-4    Exhibit L to Declaration of Micah G.     Highlighted             Contains discussion
23            Block in Support of Plaintiffs’ Motion   portions in Craig       of foreign
              for Sanctions                            Decl. Ex. D.            governmental
24                                                                             proceedings
25
     399-4    Exhibit 25 to Declaration of Micah G.    Employee PII at 7-8     Contains PII of
26            Block in Support of Plaintiffs’ Motion   and 10-20 (not          non-testifying
              for Partial Summary Judgment             included in Craig       employees
27                                                     Declaration because
                                                       it also includes
28
                                                  4
     [PROPOSED] ORDER                                                Case No. 4:19-cv-07123-PJH
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 1                                                     confidential
                                                       technical material).
 2   418-5    Exhibit 5 to Declaration of Micah G.     Employee PII at      Contains PII of
 3            Block in Support of Plaintiffs’          29:16-17; 41:22-23; non-testifying
              Opposition to Defendants’ Motion for     44:17-18; 247:21;    employees
 4            Summary Judgment                         252:1, 5, 17;
                                                       255:21, 25; 256:3,
 5                                                     5, 11-12; 257:8;
                                                       262:5-6; 265:15 (not
 6                                                     included in Craig
 7                                                     Declaration because
                                                       it also includes
 8                                                     confidential
                                                       technical material).
 9
     418-5    Exhibit 27 to Declaration of Micah G.    Employee PII at        Contains PII of
10
              Block in Support of Plaintiffs’          30:3, 21, 25; 31:2;    non-testifying
11            Opposition to Defendants’ Motion for     36:4, 7, 17; 37:7,     employees
              Summary Judgment                         14, 22; 147:23;
12                                                     153:7, 13-14, 16,
                                                       25; 199:25; 200:2;
13                                                     201:11 (not
                                                       included in Craig
14
                                                       Declaration because
15                                                     it also includes
                                                       confidential
16                                                     technical material).
17   418-7    Exhibit B to the Declaration of          Employee PII at 7-8
18            Anthony Vance in Support of              and 10-20 (not
              Plaintiffs’ Opposition to Defendants’    included in Craig
19            Motion for Summary Judgment              Declaration because
                                                       it also includes
20                                                     confidential
                                                       technical material).
21   419-5    Exhibit L to Declaration of Joseph N.    Employee PII on        Contains PII of
22            Akrotirianakis in Support of             pages 6-7 (not         non-testifying
              Defendants’ Opposition to Plaintiffs’    included in Craig      employees
23            Motion for Partial Summary Judgment      Declaration because
                                                       it also includes
24                                                     confidential
                                                       technical material).
25
     433-5    Exhibit CC to Declaration of Joseph N.   Employee PII on        Contains PII of
26            Akrotirianakis in Support of             pages 6-7 (not         non-testifying
              Defendants’ Motion to Dismiss or for     included in Craig      employees
27            Summary Judgment                         Declaration because
                                                       it also includes
28
                                                  5
     [PROPOSED] ORDER                                                Case No. 4:19-cv-07123-PJH
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 1                                                         confidential
                                                           technical material). .
 2

 3          Defendants will have until seven days after the date of this Order to re-file on the public
 4 docket the redacted documents that are the subject of this order, with the exception of the documents

 5 at Dkt. Nos. 418-5 Exhibit 5, 418-5 Exhibit 27, 418-7 Exhibit B, 419-5 Exhibit L, and 433-5 Exhibit

 6 CC. For those five documents, Defendants may wait to file the documents until after the court

 7 considers Defendants’ additional arguments on sealing documents with technical information at the

 8 pretrial conference and sets a new deadline for disclosure.

 9

10

11 IT IS SO ORDERED, this _____________ day of _______________, 2025.

12

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14
                                                         ___________________________________
15                                                       PHYLLIS HAMILTON
                                                         United States District Judge
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                                                     6
     [PROPOSED] ORDER                                                     Case No. 4:19-cv-07123-PJH
